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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No. 21-0507 (PLF)
STEPHANIE MARYLOU BAEZ,

Defendant.

THIRD AMENDED SCHEDULING ORDER

The Court held a status conference on October 7, 2024. In light of the matters

discussed at the conference, it is hereby

ORDERED that time shall be excluded under the Speedy Trial Act until

December 3, 2024; and it is

FURTHER ORDERED trial proceedings will be governed by the following

schedule:

Date Description

October 21, 2024 Defendant shall file a reply and Amicus Curiae

may file a memorandum in support of defendant’s
motion to dismiss.

November 1, 2024 The government shall file a sur-reply in
opposition to defendant’s motion to dismiss.

November 4, 2024 The parties shall file any motions in limine.

November 14, 2024 | The parties shall file oppositions to motions in
limine.

November 20, 2024 | The parties shall file exhibit and witness lists.

November 21,2024 | The parties shall file replies in support of motions
in limine.

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November 26, 2024 | Final pretrial conference shall take place via Zoom
at 2:00 p.m. video teleconference.

December 3, 2024 at | The bench trial will commence in Courtroom 29
10:00 a.m. in the William B. Bryant Annex to the E. Barrett
Prettyman Courthouse at 333 Constitution
Avenue N.W., Washington, D.C. 20001.

SO ORDERED.

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PAUL L.FRIEDMAN ~
United States District Judge

DATE: /0/F[24
